Case 1:18-cv-00477-LEK-RT Document 47 Filed 03/22/19 Page 1 of 9     PageID #: 272



 HOSODA & BONNER, LLLC

 LYLE S. HOSODA            3964-0
 ADDISON D. BONNER 9163-0
 Three Waterfront Plaza, Suite 499
 500 Ala Moana Boulevard
 Honolulu, Hawaii 96813
 Telephone: (808) 524-3700
 Facsimile: (808) 524-3838
 Email:     lsh@hosodalaw.com
            adb@hosodalaw.com

 Attorneys for Defendant
 OAHU INTERSCHOLASTIC ASSOCIATION

                  IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

A.B., by her parents and next friends,    Civil No. 18CV-00477 LEK-RT
C.B. and D.B., and T.T., by her parents
and next friends, K.T. and S.T.,          REPLY MEMORANDUM IN
                                          SUPPORT OF DEFENDANT OAHU
            Plaintiffs,                   INTERSCHOLASTIC
                                          ASSOCIATION’S MOTION TO
      vs.                                 DISMISS; CERTIFICATE OF
                                          SERVICE
HAWAII STATE DEPARTMENT OF
EDUCATION and OAHU                        [RE: ECF NOS. 22, 44]
INTERSCHOLASTIC ASSOCIATION,
                                          Hearing:
            Defendants.                   Date:      April 5, 2019
                                          Time:      9:45 a.m.
                                          Judge:     Honorable Leslie E. Kobayashi
                                          Trial:     February 24, 2020
Case 1:18-cv-00477-LEK-RT Document 47 Filed 03/22/19 Page 2 of 9              PageID #: 273



       REPLY MEMORANDUM IN SUPPORT OF DEFENDANT OAHU
       INTERSCHOLASTIC ASSOCIATION’S MOTION TO DISMISS

 I.     INTRODUCTION

              Defendant Oahu Interscholastic Association (“OIA”) filed its Motion

 to Dismiss Plaintiffs A.B., by her parents and next friends, C.B. and D.B., and

 T.T., by her parents and next friends, K.T. and S.T.s’ (collectively, “Plaintiffs”)

 Complaint because it made only one conclusory allegation against the OIA: “that

 the OIA indirectly receives federal funds”, and as such is subject to Title IX and

 the jurisdiction of this Court. In their opposition to the Motion, Plaintiffs present

 three arguments that are outside and beyond the four corners of the Complaint.

 Because sufficient facts were not pled, the OIA respectfully requests that its

 motion be granted.

 II.   THE STANDARD FOR A MOTION TO DISMISS

              To survive a motion to dismiss, a complaint must contain sufficient

 facts to state a claim to relief that is plausible on its face. Ashcroft v. Iqbal, 556

 U.S. 662, 678, 129 S.Ct. 1937, 1949, 173 L.Ed.2d 868 (2009). Although the court

 must view the alleged facts in the complaint as true, a plaintiff must provide “more

 than labels and conclusions, and a formulaic recitation of the elements of a cause

 of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 127 S.Ct.

 1955, 1965, 167 L.Ed.2d 929 (2007) (internal citation omitted).




                                             2
Case 1:18-cv-00477-LEK-RT Document 47 Filed 03/22/19 Page 3 of 9            PageID #: 274




 III.   PLAINTIFFS’ COMPLAINT FAILS TO ALLEGE FACTS WHICH
        SUPPORT A CLAIM THAT THE OIA IS SUBJECT TO TITLE IX

        A.    Plaintiffs’ Complaint Fails to Adequately Allege That the OIA
              Indirectly Received Federal Funding

              Plaintiffs’ conclusory allegation that the “OIA indirectly receives

 federal funding” is insufficient to survive a motion to dismiss because it is merely

 a formulaic recitation of the elements of the cause of action. See Bell Atl. Corp. v.

 Twombly, 550 U.S. at 555, 127 S.Ct. at 1965, 167; Motion at 6. Plaintiffs seek to

 circumvent their defective pleading by relying on the court’s holding in Sternberg

 v. U.S.A. National Karate-Do Federation, 123 F.Supp.2d 659, 661 (E.D.N.Y.

 2000). Admittedly, the court in Sternberg, denied a motion to dismiss filed

 making essentially the same argument that the OIA is making here. But, the point

 that Plaintiffs are missing is that the movant in the Sternberg did not rely upon a

 single conclusory allegation that the entity received indirect federal funding, it set

 forth the following facts and supporting allegations to its claim: 1) the Olympic

 Committee recognized the Karate Federation as the national governing body for

 the sport of Karate; 2) the Olympic Committee received and provided to national

 governing sports bodies over forty (40) million dollars in federal funding; and 3)

 and as a national governing sports body, the Olympic Committee disbursed federal

 funds to the Karate Federation in 1999. 123 F.Supp.2d at 661.

              Further, Plaintiffs’ reliance on Grove City Coll. v. Bell, 465 U.S. 555,



                                            3
Case 1:18-cv-00477-LEK-RT Document 47 Filed 03/22/19 Page 4 of 9           PageID #: 275



 104 S.Ct. 1211, 79 L.Ed.2d 516 (1984) as the controlling authority for determining

 whether an organization received federal funding, is mis-placed. The United States

 Supreme Court’s decision in Nat'l Collegiate Athletic Ass'n v. Smith, 525 U.S.

 459, 469, 119 S.Ct. 924, 929, 142 L.Ed.2d 929 (1999), cited to by the OIA,

 superseded the Grove City Coll. case and is the controlling authority on this issue.

              Because Plaintiffs’ Complaint does not meet the pleading

 requirements and relies upon outdated law, the OIA respectfully requests that its

 motion be granted.

       B.     Plaintiffs Did Not Allege That the OIA Directly Received Federal
              Funding

              Plaintiffs next argue that the OIA receives direct federal funding, and

 that the OIA is a subunit of the DOE, and therefore subject to Title IX. Opp. at 9.

 The Plaintiffs’ Complaint does not contain any facts or allegations to this effect.

 Plaintiffs’ Opposition cites to several paragraphs in the Complaint that allege that

 the OIA was under the control of the DOE and asks the Court to infer from these

 allegations that the OIA is a subunit of the DOE and therefore receives direct

 federal funding. Opp. at 11. Even when viewing every allegation regarding the

 relationship between the OIA and DOE as true, Plaintiffs’ argument fails because

 the Complaint does not allege that the OIA directly received federal funding or that

 the OIA is a subunit of the DOE. Therefore, the Court should disregard Plaintiffs’

 argument for inferring direct federal funding through pervasive entwinement.

                                           4
Case 1:18-cv-00477-LEK-RT Document 47 Filed 03/22/19 Page 5 of 9            PageID #: 276



              Plaintiffs improperly rely on Brentwood Academy v. Tennessee

 Secondary School Athletic Association, arguing that Brentwood somehow

 establishes that the OIA is a subunit of the DOE. See Brentwood Academy v.

 Tennessee Secondary School Athletic Association, 531 U.S. 288, 303, 121 S.Ct.

 924, 934, 148 L.Ed.2d 807 (2001). Unlike here, in Brentwood, the Supreme Court

 considered whether an athletic association was a state actor subject to suit under 42

 U.S.C. § 1983. Id. at 531 U.S. at 293, 121 S.Ct. at 929, 148 L.Ed.2d at 807; also

 Opp. at 12, FN 5. As discussed in the OIA’s Motion, Courts have consistently

 viewed Spending Clause legislation as “much in the nature of a contract”,

 specifically in the case of Title IX, enforceability of Title IX claims is limited to an

 organization that agrees to comply with federal imposed non-discriminatory

 conditions in exchange for federal funds. Motion at 3-4. Moreover, the Supreme

 Court has declined to extend damages liability under Title IX to parties outside the

 scope of enforcement. Davis Next Friend LaShonda D. v. Monroe County Bd. of

 Educ., 526 U.S. 629, 642, 119 S.Ct. 1661, 1671, 143 L.Ed.2d 839 (1999).

 Therefore, the appropriate test to determine whether a party is subject to Title IX

 enforcement is whether the organization received federal funding, not whether the

 organization was a state actor for the purposes § 1983. Nat'l Collegiate Athletic

 Ass'n v. Smith, 525 U.S. 459, 466, 119 S.Ct. 924, 928, 142 L.Ed.2d 929 (1999);

 Horner v. Kentucky High Sch. Athletic Ass'n, 43 F.3d 265, 271 (6th Cir. 1994).



                                            5
Case 1:18-cv-00477-LEK-RT Document 47 Filed 03/22/19 Page 6 of 9            PageID #: 277




       C.     Plaintiffs Fail to Allege That the OIA Has Complete Control of
              the DOE’s Athletic Program

               Plaintiffs’ make an additional argument that does not address the fact

 that they did not plead specific language and facts. Plaintiffs argue that the OIA

 has authority over the DOE’s Athletic Program that subjects the OIA to Title IX

 enforcement, regardless of whether or not the OIA receives federal funds. Again,

 this highlights the defects in Plaintiffs’ Complaint because facts to this effect are

 not pled within the four corners of the Complaint.

              Plaintiffs rely on Williams v. Board of Regents of University System of

 Georgia, (477 F.3d 1282, 1294 (11th Cir. 2007)) for the proposition that when a

 recipient of federal funds cedes control over one of its programs to a private

 organization, that private organization is subject to Title IX restrictions. Opp. at

 19. This argument fails for two reasons. First, Plaintiffs ignore the fact that

 Williams expressly states, “[n]otably, the Court has not resolved whether [ceded

 control] is sufficient to make an entity a funding recipient subject to Title IX

 liability.” 477 F.3d 1282, 1294 (11th Cir. 2007) (citing to NCAA, 525 U.S. at 470–

 71, 119 S.Ct. at 924, 142 L.Ed.2d at 929). Second, even if this Court finds that

 ceding control is sufficient to make an entity a funding recipient subject to Title IX

 liability, Plaintiffs have not sufficiently pled that the DOE ceded control of the

 Athletics Program to the OIA.




                                            6
Case 1:18-cv-00477-LEK-RT Document 47 Filed 03/22/19 Page 7 of 9          PageID #: 278




 IV.   CONCLUSION

              For the foregoing reasons, the OIA respectfully requests that this

 Court grant its motion to dismiss, filed herein on January 18, 2019. The OIA also

 respectfully requests that this Court grant its motion to dismiss with prejudice as

 Plaintiffs have not requested leave to amend the Complaint, and for such other and

 further relief as this Court deems just and proper under the circumstances.

              DATED: Honolulu, Hawaii, March 22, 2019.

                                               /s/ Lyle S. Hosoda
                                               LYLE S. HOSODA
                                               ADDISON D. BONNER

                                               Attorneys for Defendant
                                               OAHU INTERSCHOLASTIC
                                               ASSOCIATION




                                           7
Case 1:18-cv-00477-LEK-RT Document 47 Filed 03/22/19 Page 8 of 9       PageID #: 279



                  IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

A.B., by her parents and next friends,    Civil No. 18CV-00477 LEK-RT
C.B. and D.B., and T.T., by her parents
and next friends, K.T. and S.T.,          CERTIFICATE OF SERVICE

            Plaintiffs,

      vs.

HAWAII STATE DEPARTMENT OF
EDUCATION, et al.,

            Defendants.


                           CERTIFICATE OF SERVICE

              The undersigned hereby certifies that on the date noted below, a true
 and correct copy of the foregoing document was duly served electronically through
 CM/ECF on the following parties:

       MATEO CABALLERO, ESQ.                 (mcaballero@acluhawaii.org)
       ACLU of Hawaii Foundation
       P.O. Box 3410
       Honolulu, Hawaii 96801
             -and-
       ELIZABETH KRISTEN, ESQ.               (ekristen@legalaidatwork.org)
       J. CACILIA KIM, ESQ.                  (ckim@legalaidatwork.org)
       KIM TURNER, ESQ.                      (kturner@legalaidatwork.org)
       Legal Aid at Work
       180 Montgomery Street, Suite 600
       San Francisco, California 94104
             -and-
       JAYMA M. MEYER, ESQ.                  (jmeyer@stblaw.com)
       Simpson Thacher & Bartlett LLP
       425 Lexington Avenue
       New York, New York 10017
Case 1:18-cv-00477-LEK-RT Document 47 Filed 03/22/19 Page 9 of 9    PageID #: 280



             -and-
       HARRISON J. FRAHN IV, ESQ.            (hfrahn@stblaw.com)
       Simpson Thacher & Bartlett LLP
       2475 Hanover Street
       Palo Alto, California 94304

       Attorneys for Plaintiffs
       A.B., by her parents and next friends, C.B. and D.B., and
       T.T., by her parents and next friends, K.T. and S.T.

       JOHN M. CREGOR, ESQ.                  (john.m.cregor@hawaii.gov)
       CARTER K. SIU, ESQ.                   (carter.k.siu@hawaii.gov)
       Office of the Attorney General
       Civil Rights Litigation
       425 Queen Street
       Honolulu, Hawaii 96813

       Attorneys for Defendant
       HAWAII STATE DEPARTMENT OF EDUCATION

             DATED: Honolulu, Hawaii, March 22, 2019.

                                             /s/ Lyle S. Hosoda
                                             LYLE S. HOSODA
                                             ADDISON D. BONNER

                                             Attorneys for Defendant
                                             OAHU INTERSCHOLASTIC
                                             ASSOCIATION




                                         2
